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August 30, 2022

VIA ECF
The Hon. Wendy Beetlestone, U.S.D.J.
United States District Court
Eastern District of Pennsylvania
James A. Byrne U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1797

Re:       Doe 1, et al v. Perkiomen Valley School District, et al.
          Docket No. 2:22-cv-00287

Dear Judge Beetlestone:

        Pursuant to Your Honor’s August 18, 2022 Order, Defendants’ response to Plaintiffs’
Motion for Attorneys’ Fees and Costs is due today. For the convenience of the Court’s consideration
of Defendants’ arguments, Defendants included some of the billing entries from Plaintiffs’ pages of
invoices within the body of Defendants’ brief. As a result, Defendants’ brief exceeds the 30-page
limit prescribed in Your Honor’s Policies and Procedures. Defendants therefore respectfully request
permission to file an overlength brief totaling no more than 35 pages, excluding tables.

          Thank you for your kind consideration of this request.

Respectfully submitted,



Brian E. Subers, Esquire

Cc: All counsel of record (via ECF)




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